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IN THE UNITED STATES DISTRICT cOURT pn£m15;_`,¢r
FOR THE wESTERN D:STRICT OF TENNESSEE

WESTBRN DIVISION 05 ms 27 m 2: 09

 

 

UNITED S'I`ATES OF AMERl'CA

Plaintiff,

“" /}m€or\/

MZ¢ M

Criminal No. 0_¢~,?03?0 Ml

(3 0 -Day Cc>ntinuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND E]XCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant (s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the June, 2005,
criminal rotation calendar, but is now RESET for report at M|_
a.m. on Fridav, June 241 2005, with trial to take place on the
July, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through July 15, 2005. Agreed in open court at

report date this 27th day of May, 005.

   
 
 

Thfs document entered on the docket sheeti
w|th Ru|a 55 and/or 32(b) FF\CrP on

Case 2:04-cr-20380-.]PI\/| Document 38 Filed 05/27/05 Page 2 of 3 Page|D 51

se ORDERED this 27Ch day of May, 2005.

w m CLQQ&.

JON PHIPPS MCC‘ALLA
UN ED STATES DISTRIC'T JUDGE

Q»»»‘EM»~

{]'\}/ § APV\t-J

Ass'istant United States Attorney

/J/Z¢%M

 

 

 

Counsel for Defendant(s)

 

ISTRIC COUR - WTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:04-CR-20380 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

Handel R. Durham
DURHAM & ASSOCIATES
100 North Main St.

Ste. 2601

1\/lemphis7 TN 38103

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

